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                     Exhibit I
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      Number   Name     Full Title                          Copyright      Date
                                                            Number
      [1]      Flava    Bad Boy Detention 2 - Bareback      PA0001804965   2012
               Works,   Sessions.
               Inc.
      [2]      Flava    Bad Boy Detention 3 - Raw           PA0001861010   2013
               Works,   Trouble.
               Inc.
      [3]      Flava    Bad Boy Detention : F is for Fuck. PA0001797213    2012
               Works,
               Inc.
      [4]      Flava    BAREBACK BOOTY                      PA0001917774   2012
               Works,   BANDITS.
               Inc.
      [5]      Flava    BAREBACK BOOTY                      PA0001832507   2012
               Works,   BANDITS.
               Inc.
      [6]      Flava    BAREBACK BUSSY #1.                  PA0002037043   2015
               Works,
               Inc.
      [7]      Flava    BAREBACK BUSSY #2:                  PA0002025855   2015
               Works,   BREED AND BOUNCE.
               Inc.
      [8]      Flava    BAREBACK STUDY HALL #3:             PA0002037056   2015
               Works,   ENCOUNTERS.
               Inc.
      [9]      Flava    BAREBACK STUDY HALL #4:             PA0002025860   2015
               Works,   LESSONS LEARNED.
               Inc.
      [ 10 ]   Flava    BAREBACK STUDY HALL #5:             PA0002036970   2015
               Works,   CUTTING CLASS.
               Inc.
      [ 11 ]   Flava    BIG BLACK & BAREBACK.               PA0001788831   2011
               Works,
               Inc.
      [ 12 ]   Flava    Big Black Dick.                     PA0001748153   2011
               Works,
               Inc.
      [ 13 ]   Flava    Big Black Dick 2: Ouch!             PA0001802985   2011
               Works
               Inc
      [ 14 ]   Flava    Big Black Dick 3: Third Leg.        PA0001804964   2012
               Works,
               Inc.
      [ 15 ]   Flava    Big Black Dick 3: Third Leg.        PA0001797171   2012
               Works,
               Inc.
      [ 16 ]   Flava    Big Black Dick 4: Inches of Pain.   PA0001861008   2013
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               Works,
               Inc.
      [ 17 ]   FLAVA    BLACK BAREBACK COLLEGE PA0002037057             2016
               WORKS    #1.
               INC
      [ 18 ]   Flava    BLACK IN WHITE.                  PA0001841887   2012
               Works,
               Inc.
      [ 19 ]   Flava    BLACK IN WHITE #2                PA0001993086   2016
               Works,   INTERRACIAL BAREBACK.
               Inc.
      [ 20 ]   Flava    Chino in the Raw.                PA0001668277   2009
               Works
               Inc.
      [ 21 ]   Flava    Cocoboyz.com 2010.               VA0001861560   2010
               Works
               Inc.
      [ 22 ]   Flava    Cocodorm.com 2010.               VA0001861558   2010
               Works
               Inc.
      [ 23 ]   Flava    COCODORM RAW #1.                 PA0002025848   2015
               Works,
               Inc.
      [ 24 ]   Flava    COCODORM RAW #2: Skeet &         PA0002036972   2015
               Works,   Eat.
               Inc.
      [ 25 ]   Flava    COCODORM RAW #3: Fucking         PA0002037060   2015
               Works,   for Coins.
               Inc.
      [ 26 ]   Flava    Cody Kyler's Pinga Paradise.     PA0001668281   2009
               Works,
               Inc.
      [ 27 ]   Flava    CODY KYLER'S PINGA               PA0001737150   2010
               Works,   PARADISE #2.
               Inc.
      [ 28 ]   Flava    Dominant Raw Tops.               PA0001748151   2011
               Works,
               Inc.
      [ 29 ]   Flava    DOMINANT RAW TOPS #4:Up          PA0001841878   2013
               Works,   in the Guts!
               Inc.
      [ 30 ]   Flava    DOMINANT RAW TOPS                PA0002036969   2014
               Works,   #7:Man Milk.
               Inc.
      [ 31 ]   Flava    Dominant Raw Tops 3: Nut up or   PA0001803007   2012
               Works,   Shut up!
               Inc.
      [ 32 ]   Flava    Dominant Raw Tops 3: Nut up or   PA0001804962   2012
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               Works,   Shut up!
               Inc.
      [ 33 ]   Flava    Dorm Life 12 - Dick Addiction.      PA0001764960   2008
               Works,
               Inc.
      [ 34 ]   Flava    Dorm Life 12 : Dick Addiction.      PA0001635732   2008
               Works
               Inc.
      [ 35 ]   Flava    Dorm Life 13 - Skipping Class for   PA0001764946   2008
               Works,   Ass.
               Inc.
      [ 36 ]   Flava    Dorm Life 14 - The Dick Down.       PA0001668240   2009
               Works
               Inc.
      [ 37 ]   Flava    Dorm Life 15 - After School Fuck    PA0001668343   2009
               Works    Sessions.
               Inc.
      [ 38 ]   Flava    Dorm Life 16 : Fucking For Extra    PA0001666879   2009
               Works    Credit.
               Inc.
      [ 39 ]   Flava    Dorm Life 17 : Dick in Detention.   PA0001666861   2009
               Works
               Inc.
      [ 40 ]   Flava    Dorm Life 18:, Cum Hard or Fuck     PA0001666875   2009
               Works    Off.
               Inc.
      [ 41 ]   Flava    Dorm Life 19 - Night Vision.        PA0001697763   2010
               Works
               Inc.
      [ 42 ]   Flava    DORM LIFE 20 - Double X.            PA0001789152   2010
               Works,
               Inc.
      [ 43 ]   Flava    DORM LIFE 21 - Legally Crunk.       PA0001789158   2011
               Works,
               Inc.
      [ 44 ]   Flava    Dorm Life 22 - Easy A.              PA0001802911   2012
               Works,
               Inc.
      [ 45 ]   Flava    Dorm Life 23 - Fuck the A outta     PA0001797241   2012
               Works,   me.
               Inc.
      [ 46 ]   Flava    DORM LIFE 5.                        PA0001862670   2005
               Works,
               Inc.
      [ 47 ]   Flava    DORM LIFE V24: NEED FOR             PA0001863017   2013
               Works,   SEED.
               Inc.
      [ 48 ]   Flava    DORM LIFE V25: RAW                  PA0001917773   2013
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               Works,   TUITION.
               Inc.
      [ 49 ]   Flava    DORM LIFE Vol.20: Double X.       PA0001737155   2010
               Works,
               Inc.
      [ 50 ]   Flava    Dorm Life X : The House Next      PA0001635777   2008
               Works    Door.
               Inc.
      [ 51 ]   Flava    Dorm Life XI : Revenge of da      PA0001635734   2008
               Works    Nutt.
               Inc.
      [ 52 ]   Flava    EAT BEAT BREED AND                PA0002037046   2016
               Works    REPEAT.
               Inc
      [ 53 ]   Flava    FEED & BREED #4 FLOOD MY          PA0002025857   2015
               Works,   HOLE.
               Inc.
      [ 54 ]   Flava    FEED & BREED #5: DRAIN MY PA0002037054           2015
               Works,   BALLS.
               Inc.
      [ 55 ]   Flava    Flava Works Video Edits Fall      PA0001830766   2012
               Works,   2012.
               Inc.
      [ 56 ]   Flava    Flava Works Video Edits Jan-      PA0001779325   2011
               Works,   June, 2011.
               Inc.
      [ 57 ]   Flava    Flava Works Video Edits Sept-     PA0001779324   2011
               Works,   Oct, 2011.
               Inc.
      [ 58 ]   Flava    Flava Works Video Edits Spring    PA0001828190   2012
               Works    2012.
               Inc
      [ 59 ]   Flava    Flava Works Video Edits Summer    PA0001820337   2012
               Works    2012.
               Inc
      [ 60 ]   Flava    Flava Works Website Edits 2009.   VA0001760400   2010
               Works
               Inc.
      [ 61 ]   Flava    FlavaLife : Black & Latino gay    CSN0148498     2006
               Works,   travel & entertainment guide.
               Inc.
      [ 62 ]   Flava    FlavaLife : Black & Latino gay    CSN0148498     2005
               Works,   travel & entertainment guide.
               Inc.
      [ 63 ]   Flava    FlavaMen.com 2010.                VA0001861561   2010
               Works
               Inc.
      [ 64 ]   Flava    FlavaMen freshman year : no. 1-2. PA0001315877   2006
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               Works,
               Inc.
      [ 65 ]   Flava    FlavaMen Junior Year.               PA0001668262   2009
               Works
               Inc.
      [ 66 ]   Flava    FlavaMen Junior Year.               PA0001769140   2008
               Works
               Inc.
      [ 67 ]   Flava    Flavamen Magazine. [Published:      TX0007527922   2005
               Works,   2005-01-01. Issue: vol. 1, no. 1,
               Inc      Winter 2004]
      [ 68 ]   Flava    Flavamen Magazine. [Published:      TX0007527918   2005
               Works,   2005-03-01. Issue: vol. 1, no. 2,
               Inc      Spring 2005]
      [ 69 ]   Flava    Flavamen Magazine. [Published:      TX0007527917   2005
               Works,   2005-06-01. Issue: vol. 1, no. 3,
               Inc      Summer 2005]
      [ 70 ]   Flava    Flavamen Magazine. [Published:      TX0007527914   2005
               Works,   2005-09-01. Issue: vol. 1, no. 4,
               Inc      Fall 2005]
      [ 71 ]   Flava    Flavamen Magazine. [Published:      TX0007527910   2005
               Works,   2005-12-01. Issue: vol. 1, no. 5,
               Inc      Winter 2005]
      [ 72 ]   Flava    FlavaMen Magazine. [Published:      TX0007319965   2006
               Works,   2006-01-01. Issue: vol. 2, no. 1,
               Inc.     Winter 2006]
      [ 73 ]   Flava    FlavaMen Magazine. [Published:      TX0007319952   2006
               Works,   2006-04-01. Issue: vol. 2, no. 2,
               Inc.     Spring 2006]
      [ 74 ]   Flava    FlavaMen Magazine. [Published:      TX0007319950   2006
               Works,   2006-07-01. Issue: vol. 2, no. 3,
               Inc.     Summer 2006]
      [ 75 ]   Flava    FlavaMen Magazine. [Published:      TX0007319946   2006
               Works,   2006-11-01. Issue: vol. 2, no. 4,
               Inc.     Fall 2006]
      [ 76 ]   Flava    FlavaMen Magazine. [Published:      TX0007323094   2007
               Works,   2007-04-01. Issue: vol. 3, no. 2,
               Inc.     Spring 2007]
      [ 77 ]   Flava    FlavaMen Magazine. [Published:      TX0007319957   2007
               Works,   2007-07-01. Issue: vol. 3, no. 3,
               Inc.     Summer 2007]
      [ 78 ]   Flava    FlavaMen Magazine. [Published:      TX0007319954   2007
               Works,   2007-11-01. Issue: vol. 3, no. 4,
               Inc.     Fall 2007]
      [ 79 ]   Flava    FlavaMen Magazine. [Published:      TX0007319961   2008
               Works,   2008-01-01. Issue: vol. 4, no. 1,
               Inc.     Winter 2008]
      [ 80 ]   Flava    FlavaMen Magazine. [Published:      TX0007180442   2008
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               Works,   2008-01-01. Issue: vol. 6, no. 1,
               Inc.     Spring 2010]
      [ 81 ]   Flava    FlavaMen Magazine. [Published:      TX0007220990   2008
               Works,   2008-01-01. Issue: vol. 6, no. 1,
               Inc.     Spring 2010]
      [ 82 ]   Flava    FlavaMen Magazine. [Published:      TX0007220991   2008
               Works,   2008-01-01. Issue: vol. 6, no. 2,
               Inc.     Summer 2010]
      [ 83 ]   Flava    FlavaMen Magazine. [Published:      TX0007319960   2008
               Works,   2008-05-01. Issue: vol. 4, no. 2,
               Inc.     Spring 2008]
      [ 84 ]   Flava    Flavamen Magazine. [Published:      TX0007527909   2008
               Works,   2008-06-01. Issue: vol. 4, no. 2,
               Inc      Summer 2008]
      [ 85 ]   Flava    FlavaMen Magazine. [Published:      TX0007319958   2008
               Works,   2008-11-01. Issue: vol. 4, no. 4,
               Inc.     Fall 2008]
      [ 86 ]   Flava    FlavaMen Magazine. [Published:      TX0007145778   2009
               Works,   2009-01-01. Issue: vol. 5, no. 1,
               Inc.     Winter 2009]
      [ 87 ]   Flava    FlavaMen Magazine. [Published:      TX0007145781   2009
               Works,   2009-04-01. Issue: vol. 5, no. 1,
               Inc.     Spring 2009]
      [ 88 ]   Flava    FlavaMen Magazine. [Published:      TX0007145771   2009
               Works,   2009-07-01. Issue: vol. 5, no. 2,
               Inc.     Summer 2009]
      [ 89 ]   Flava    FlavaMen Magazine. [Published:      TX0007145774   2009
               Works,   2009-12-01. Issue: vol. 5, no. 3,
               Inc.     Fall 2009]
      [ 90 ]   Flava    Flavamen Magazine. [Published:      TX0007527923   2010
               Works,   2010-09-01. Issue: vol. 6, no. 3,
               Inc      Fall 2010]
      [ 91 ]   Flava    Flavamen Magazine. [Published:      TX0007527920   2012
               Works,   2012-03-01. Issue: vol. 8, no. 1,
               Inc      Spring/Summer 2012]
      [ 92 ]   Flava    FlavaMen Senior Year.               PA0001668012   2009
               Works
               Inc.
      [ 93 ]   Flava    FLAVAMEN X-RATED 2010               TX0007319942   2009
               Works,   CALENDAR. [Published: 2009-
               Inc.     10-01. Issue: 2010]
      [ 94 ]   Flava    FLOODED!                            PA0002037047   2016
               Works
               Inc
      [ 95 ]   Flava    Flooded! #2: Cream Pies.            PA0002037042   2016
               Works
               Inc
      [ 96 ]   Flava    I FUCKED YOUR WHITE                 PA0001822515   2012
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                Works,   BOYFRIEND.
                Inc.
      [ 97 ]    Flava    J-Rock the Ass Slayer.            PA0001764942   2008
                Works,
                Inc.
      [ 98 ]    Flava    Miami Uncut #2, Hot as Hell,      PA0001764940   2011
                Works,   Papicock Presents.
                Inc.
      [ 99 ]    Flava    Miami Uncut #3, Tropical Dicks,   PA0001748155   2011
                Works,   PapiCock Presents.
                Inc.
      [ 100 ]   Flava    MIAMI UNCUT #6: Lust in           PA0001993082   2015
                Works,   Paradise.
                Inc.
      [ 101 ]   Flava    Miami Uncut, Papicock Presents.   PA0001691638   2010
                Works
                Inc.
      [ 102 ]   Flava    MIAMI UNCUT#2: Hot as Hell :      PA0001737154   2010
                Works,   Papicock Presents.
                Inc.
      [ 103 ]   Flava    MIAMI UNCUT#4: Sizzle.            PA0001863010   2013
                Works,
                Inc.
      [ 104 ]   Flava    MIAMI UNCUT#5: Heatwave.          PA0001917804   2013
                Works,
                Inc.
      [ 105 ]   Flava    Mixxxed Nuts.                     PA0001668231   2009
                Works
                Inc.
      [ 106 ]   Flava    Mixxxed Nuts #2: Taste the        PA0001687480   2010
                Works    Crunch.
                Inc.
      [ 107 ]   Flava    Mixxxed Nuts #3: Almond Joy.      PA0001748164   2011
                Works,
                Inc.
      [ 108 ]   Flava    Mixxxed Nuts #4: Nuts by the      PA0001748148   2011
                Works,   Pound.
                Inc.
      [ 109 ]   Flava    Mixxxed Nuts #5: Sweet, Salty &   PA0001802909   2012
                Works,   Sticky.
                Inc.
      [ 110 ]   Flava    MIXXXED NUTS #6: Nut              PA0001789154   2012
                Works,   Explosions.
                Inc.
      [ 111 ]   Flava    MIXXXED NUTS #7: Dark Nut         PA0001841880   2012
                Works,   Rises.
                Inc.
      [ 112 ]   Flava    MIXXXED NUTS #7: Dark Nut         PA0001822516   2012
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                Works,   Rises.
                Inc.
      [ 113 ]   Flava    MIXXXED NUTS #8:                 PA0001861002   2013
                Works,   COCONUTS.
                Inc.
      [ 114 ]   Flava    Mixxxed Nuts RAW #1.             PA0002025838   2016
                Works
                Inc
      [ 115 ]   Flava    Nightmare on Elmo Street.        PA0001668011   2009
                Works
                Inc.
      [ 116 ]   Flava    ORGY FUCKERS #1.                 PA0001789151   2012
                Works,
                Inc.
      [ 117 ]   Flava    ORGY FUCKERS #2: Raw n           PA0001917812   2013
                Works,   Juicy.
                Inc.
      [ 118 ]   Flava    Orgy Fuckers #4: You Ain't       PA0002037052   2016
                Works    Ready.
                Inc
      [ 119 ]   Flava    Papicock.com 2010.               VA0001837591   2010
                Works
                Inc.
      [ 120 ]   Flava    PUMP N GO.                       PA0002036987   2013
                Works,
                Inc.
      [ 121 ]   Flava    Raw & Nasty 3: Gimmie dat Nut.   PA0001772428   2011
                Works,
                Inc.
      [ 122 ]   Flava    Raw & Nasty 4: Bust one in me!   PA0001804963   2012
                Works,
                Inc.
      [ 123 ]   Flava    Raw & Nasty 8: The Big Load.     PA0002037058   2016
                Works
                Inc
      [ 124 ]   Flava    RAW AND NASTY #1.                PA0001737157   2010
                Works,
                Inc.
      [ 125 ]   Flava    RAW AND NASTY #2: Milk           PA0001737156   2010
                Works,   These Walls.
                Inc.
      [ 126 ]   Flava    RAW AND NASTY 5: Cum             PA0001841890   2013
                Works,   Filled.
                Inc.
      [ 127 ]   Flava    RAW ASS POUNDERS #1.             PA0001822522   2012
                Works,
                Inc.
      [ 128 ]   Flava    RAW ASS POUNDERS #2:             PA0001841889   2013
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               Works,   DEEP BREEDING.
               Inc.
     [ 129 ]   Flava    RAW ASS POUNDERS #3:              PA0001917810   2014
               Works,   BAREBACK DREAMS.
               Inc.
     [ 130 ]   Flava    RAW CUM DUMPSTERS #1.             PA0001802967   2012
               Works,
               Inc.
     [ 131 ]   Flava    RAW CUM DUMPSTERS #2:             PA0001841874   2012
               Works,   Lick My Nut.
               Inc.
     [ 132 ]   Flava    RAW CUM DUMPSTERS #3:             PA0001863016   2013
               Works,   Breeding Party.
               Inc.
     [ 133 ]   Flava    Raw Rods #10: Super Slayers.      PA0001803004   2011
               Works,
               Inc.
     [ 134 ]   Flava    Raw Rods #11: : Direct Deposit.   PA0001797237   2012
               Works,
               Inc.
     [ 135 ]   Flava    RAW RODS #12: Freak Sessions.     PA0001841884   2013
               Works,
               Inc.
     [ 136 ]   Flava    RAW RODS #13: Breeding            PA0001917818   2012
               Works,   Sessions.
               Inc.
     [ 137 ]   Flava    RAW RODS #14:                     PA0002025846   2015
               Works,   IMPREGNATORS.
               Inc.
     [ 138 ]   Flava    Raw Rods #2: Gangsta Juice.       PA0001668271   2009
               Works
               Inc.
     [ 139 ]   Flava    Raw Rods #3: Gettin that Nut.     PA0001668236   2009
               Works
               Inc.
     [ 140 ]   Flava    Raw Rods #4: Raw Beat Down.       PA0001677124   2009
               Works,
               Inc.
     [ 141 ]   Flava    Raw Rods #4: Raw Beat Down.       PA0001728043   2009
               Works
               Inc.
     [ 142 ]   Flava    Raw Rods #5: Deep Impact.         PA0001677123   2009
               Works,
               Inc
     [ 143 ]   Flava    Raw Rods #5: Deep Impact.         PA0001728038   2009
               Works
               Inc.
     [ 144 ]   Flava    Raw Rods #6: Crazy for Cum.       PA0001691644   2010
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                Works
                Inc.
     [ 145 ]    Flava    RAW RODS #7: TAKE IT IN          PA0001736926   2010
                Works,   THE GUTS.
                Inc.
     [ 146 ]    Flava    Raw Rods #8: Flood That Booty.   PA0001748166   2011
                Works,
                Inc.
     [ 147 ]    Flava    Raw Rods #9: Heavy on the        PA0001748142   2011
                Works,   cream.
                Inc.
     [ 148 ]    Flava    Raw Rods 1.                      PA0001668266   2009
                Works
                Inc.
     [ 149 ]    Flava    RAW THUGS #4: RAW                PA0001861001   2013
                Works,   PLAYAZ.
                Inc.
     [ 150 ]    Flava    Raw thugs : no. 2.               PA0001316802   2005
                Works,
                Inc.
     [ 151 ]    Flava    Raw thugs : no. 3.               PA0001315909   2005
                Works,
                Inc.
      [ 152 ]   Flava    RawRods.com 2010.                VA0001792407   2010
                Works
                Inc.
      [ 153 ]   Flava    Santo Domingo Uncut #1.          PA0001764949   2008
                Works,
                Inc.
      [ 154 ]   Flava    SANTO DOMINGO UNCUT #2.          PA0001788830   2008
                Works,
                Inc.
      [ 155 ]   Flava    Santo Domingo Uncut #3:          PA0001691631   2010
                Works    Dominican Dick Destruction.
                Inc.
      [ 156 ]   Flava    SANTO DOMINGO UNCUT #4:          PA0001789159   2010
                Works,   Dominican Heat.
                Inc.
      [ 157 ]   Flava    SANTO DOMINGO UNCUT #4:          PA0001737152   2010
                Works,   Dominican Heat.
                Inc.
      [ 158 ]   Flava    Saukei 2 You.                    PA0001764951   2008
                Works,
                Inc.
      [ 159 ]   Flava    Snow Ballerz.                    PA0001635771   2008
                Works
                Inc.
      [ 160 ]   Flava    SNOW BALLERZ #5: Frosty          PA0001802981   2012
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                Works,   Lips.
                Inc.
      [ 161 ]   Flava    Snow Ballerz III: Avalanche!       PA0001668232   2009
                Works
                Inc.
      [ 162 ]   Flava    Snow Ballerz Two.                  PA0001668265   2009
                Works
                Inc.
      [ 163 ]   Flava    SNOW BALLERZ V1.                   PA0001789153   2008
                Works,
                Inc.
      [ 164 ]   Flava    Snow Ballerz V4: 18 to Party, 21   PA0001691647   2010
                Works    to Swallow.
                Inc.
      [ 165 ]   Flava    Star Struck!                       PA0001748139   2011
                Works,
                Inc.
      [ 166 ]   Flava    Swaggers.                          PA0001668235   2009
                Works
                Inc.
      [ 167 ]   Flava    SWAGGERS #2: Dickin Down           PA0001789156   2010
                Works,   Deep.
                Inc.
      [ 168 ]   Flava    SWAGGERS #2: Dickin Down           PA0001737151   2010
                Works,   Deep.
                Inc.
      [ 169 ]   Flava    Swaggers #3: DTF (Down to          PA0001802983   2012
                Works,   Fuck)
                Inc.
      [ 170 ]   Flava    SWAGGERS #4: Smoke & Fuck.         PA0001917815   2013
                Works,
                Inc.
      [ 171 ]   Flava    That Good Dick: Tyson.             PA0001691645   2010
                Works
                Inc.
      [ 172 ]   Flava    Thug Mansion: Breion Diamond's     PA0001764959   2008
                Works,   Crib.
                Inc.
      [ 173 ]   Flava    Thug Mansion, Breion Diamond's     PA0001635924   2008
                Works    Crib.
                Inc
      [ 174 ]   Flava    Thug Mansion, Smooth's Crib.       PA0001635768   2008
                Works
                Inc.
      [ 175 ]   Flava    Thugboy 9 - All about the Dick.    PA0001701364   2010
                Works
                Inc.
     [ 176 ]    Flava    Thugboy.com 2010.                  VA0001837588   2010
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               Works
               Inc.
     [ 177 ]   Flava    Thugboy V11 - Running from the   PA0001748147   2011
               Works,   Dick.
               Inc.
     [ 178 ]   Flava    Thugboy V12 - Banging Backs      PA0001797238   2012
               Works,   Out.
               Inc.
     [ 179 ]   Flava    Thugboy V6 - Playas in Action.   PA0001782056   2010
               Works
               Inc.
     [ 180 ]   Flava    THUGBOY Vol.10: Hood is          PA0001737149   2010
               Works,   Good.
               Inc.
     [ 181 ]   Flava    ThugBoy Vol 2 : Errbody Wanna    PA0001635772   2008
               Works    Thug.
               Inc.
     [ 182 ]   Flava    ThugBoy Vol 3 : Layin da Pipe.   PA0001635916   2008
               Works
               Inc.
     [ 183 ]   Flava    ThugBoy Vol 4 : Thugged Out.     PA0001635774   2008
               Works
               Inc.
     [ 184 ]   Flava    THUGBOY Vol.7:Built To Fuck.     PA0001737153   2010
               Works,
               Inc.
     [ 185 ]   Flava    Thugboy Vol. 8 Fuck What You     PA0001668238   2009
               Works    Heard.
               Inc.
     [ 186 ]   Flava    ThugsForSex.com 2010.            VA0001742514   2010
               Works
               Inc.
     [ 187 ]   Flava    WHITE ASS PUNISHERS.             PA0001841894   2013
               Works,
               Inc.
     [ 188 ]   Flava    WHITE ASS PUNISHERS #2:          PA0001917813   2013
               Works,   FACE DOWN ASS UP.
               Inc.
     [ 189 ]   Flava    World of Flava: Paris.           PA0001668278   2009
               Works
               Inc.
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     Number    Name        Full Title                Copyright       Date
                                                     Number
      [1]      Bleicher,   Cocodorm.com 2010.        VA0001861558    2010
               Phillip
      [2]      Bleicher,   ThugsForSex.com 2010.     VA0001742514    2010
               Phillip
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                Exhibit IV
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   X Personally known
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   _ Produced identification (type of identification produced---------�




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               Bradley Legal Group, P.A., 15 Northeast !3'h Avenue, Fort Lauderdale, Fl 33301 (954) 523-6160
